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                                                             IN ',l'HE CIRCUIT COURT FOR BALTIMORE CITY, MARYLAND

                          CAROLYN SCOTT
                          22 Cheltenham Court
                                                                                                         •
                          Owings Mills, Maryland 2 I I 17                                                •
                                                                    Named Plaintiff,                     •
                                                    v.                                                   •                Case No.                      _ ____ _

                      ASSET ACCEPTANCE,LLC                                                           •
                      2711 Centerville Road, Suite 400
                      Wilmington, Delaware 19808                                                     •

                      Serve On:                                                                      •

                      Resident Agent                                                                 •
                      CSC- Lawyers incorporating Service Company
                      7 St. Paul Street, Suite 1660                                                  •
                      Baltimore, Maryland 21202
                                                                                                     •
                                                                Defendant
                      •              •              •           •          •                 •   •   •             •          •         •          •            •      •   •
                                               CLASS ACTION COMPLAINT AND DEMAND FOR JURy TRIAL

                                    The Named Plaintiff Carolyn Scott ("Named Plaintiff') on her own behalf and on behalf of

                  all others similarly situated files this Class Action Complaint and Demand for Jury Trial through her

                  counsel, Jane Santoni of Williams & Santoni, LLP and Scott C. Borison ofLegg Law Firm, LLC,

                  and for cause states:

                                    1.          The Named Plaintiff files this Complaint against the Defendant, Asset Acceptance,

                  LLC ("Asset Acceptance") for violations of the Fair Debt Collection Practices Act 15 U.S.C. SS

                  1692 et. seq. ("FDCP A"), the Maryland Consmner Debt Collection Practices Act MD. CODEANN.

                  COM.LAWS 14-201 et. seq., and the Maryland Consumer Protection Act, MD.CODEANN.COM.LAW

                  S 13-101 et. seq.

                                2.              The Named Plaintiff and others similarly situated weresued on debts allegedly owing
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                             tb Asset ACceptance, LLC and Asset Acceptance, LLC milterially lnisrepresenied the amount of

                             principal owing in these suits by including additional interest andfees incurred in their calculation

                             and definition of principal and adding interest charges when they failed to comply with the

                             requirements of the federal Truth in Lending Act, 15 U.S.C. S 1601et seq. ("TlLA") to be permitted

                             to legally charge interest on the obligation.

                                                                               PARTIES

                                       3.   . Named Plaintiff is a resident of Maryland, is a natural person and a "consumer" as

                            defined by 15 U.S.C:    S I692a(3).
                                    4.       Asset Acceptance is a licensed debt collector in the state of Mliryland with its

                            principal office in Delaware and regularly conducts business and suesconsumers in Baltimore City,

                            Maryland. Asset Acceptance is a "debt collector" as defined by 15 U.S:C. ~ 1692(a)(6) and a

                            "collector" as defined in MD..CODEANN,COM.LAW~ 14-201(b).

                                   5.        The debts at issue in the present case arise out of consumertransactions as definedby

                            MD. CODEANN,COM.LAW S 14-201(c).

                                                                JURISDICTION AND VENUE

                                   6.       This Court has jurisdictionover this case under Mo. CODEANN.,Crs. & Jun. PRoC.~

                           6~103(b), because Asset Acceptance transacts business and perfonns work and provides services in

                           Maryland, regularly does and solicits business in Maryland, and engagesin other persistent courses

                           of conduct in Maryland.

                                  7.        Venue is proper in this Court under MD. CODEANN.,Crs. & Jun. PROC.S 6-201,

                           because Asset Acceptance carries on regular business in Baltimore City, Maryland.




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                                       FACTUAL ALLEGATIONS

           8.     Named Plaintiff purchased a Dell Computer in approximately August 2007 for

  personal, household and family purposes. She paid approximately $688.79 for this computer and

  obtained fInancing for the purchase through Dell Financial Services.

          9.      Named Plaintiffbelieved that she had paid this debt off completely when she received

  notice of the suit fIled by Defendant Asset Acceptance on Janllliry 31, 2014. Please see Defendant's

  Complaint attached as Exhibit A.

          10.    Named Plaintiff never voluntarily entered into a contract with Asset Acceptance, LLC

 for purchase of a Dell Computer nor did she ever make payments to Asset Acceptance for purchase

 of a Dell Computer.

         11.     Defendant Asset Acceptance alleged in its complaint that it had a right to collect on

 the Named Plaintiffs    account with Dell Financial Services because it had been sold the account

 through a chain of ownership from CIT Online Bank to Web Bank on November 12, 2009; from

 Web Bank to Dell Financial Services on January 7, 20ll;          and then finally from Dell Financial

 Services to Asset Acceptance on June 4, 2012. Id.

         12.    In the Defendant's complaint it claimed that the Named Plaintiff owed $2,123.44 in

principal, and $176.76 in interest (calculated at the legal rate of six percent).

        13.     Defendant's complaint alleged the date of charge off as July 5,2010. Id

        14.     The accounting .attached to the Defendant's complaint shows the original purchase

price of the computer and amount fInanced by the Named Plaintiff to be $688.79 and the amount

alleged owing in the Defendant's complaint, far in excess of this amount, includes fInance charges,

late fees, and other expenses in addition to the original purchase price of the computer.


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                  . 15..     The Defendanfdid not provide a copy of the original firuilicmgagreenieiltfor the Dell

          computer evidencing the contractual rate of interest on the purchase or the applicable late fees.

                  16.        The Defendant's Complaint for AffidavitJudgment was filed pursuantto Md. Rule ~

          3-306(a)(7) which specifically defines "principal'; as "the unpaid balance of the funds borrowed, the

          credit utilized, the sales price of goods or services obtained .. .It does not include interest, fees, or

          charges added to the debt or obligation by the original creditor or any subsequent assignees of the

         consumer debt."

                 17.        By misclassifYing the principal amount alleged owingas $2,123.44(including interest

         and other fees) the Defendant was able to add prejudgment interest at the legal rate based on a higher

         principal amount owing than the actual principal balance owing accordingto the statutory definition.

                 18.       The Defendant, by knowingly misrepresenting the amount of principal owing, has

         been allowed to obtain a windfall from the Named Plaintiff and those similarly situated by claiming

        prejudgment interest on an artificially inflated principal amount.

                 19.       By misclassifying the amount owing inclusive of interest and fees as "principal" the

        Named Plaintiff and those similarly situated have been harmed by bearing the burden of potentially

        significant tax penalties as forgiven principal debt which must be reported to the Internal Revenue

        Service pursuant to 26 C.F.R.      9 1.6050P-1.
                20.        Additionally, the Defendant has claimed the right to collect interest when it has not

        complied with the prerequisites established by the Truth in Lending Act ('fILA) 15U.S.C. ~ 1601et.

        seq. Therefore, the Defendant has claimed, attempted, or threatened to enforce a right with

        knowledge that the right does not exist.




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                                       CLASS ACTION ALLEGATIONS -

         21.        The Named Plaintiff brings this action individually and on behalf of all persons

  similarly situated, known as the Interest Overcharge class.

         22.     The Interest Overcharge class consists of:

                 (a) All persons sued by the Defendant           debt buyer Asset Acceptance;

                 (b) In the Maryland         District Courts;

                (c) In the lastthree        years;

                (d) For an alleged amount claimed as "principal"                inclusive of interest

                      and other fees; and

                (e) For which additional         prejudgment    interest was claimed.

        23.     The Interest Overcharge class, as defined above, is identifiable. The Named

Plaintiff is a member of the Interest Overcharge class.

        24.    The Interest Overcharge class consists, at a minimum, of hundreds or possibly

thousands of persons who had charged-off accounts that were then sold to debt buyer Defendant

Asset Acceptance.

       25.     There are questions of law and fact which are not only common to the Interest

Overcharge class but which predominate over any questions affecting individual class members. The

cornmon and predominating          questions include, but are not limited to:

               (a) Whether Asset Acceptance by misrepresenting             the amount allegedly due on

                     charged-off     accounts as "principal"    even though these "principal" amounts

                    included additional interest and fees was a "false representation of the character,

                    amount, or legal status of any debt" in violation of 15 U.S.C. ~1692(e)(2)(A).


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                           (b) Whether Asset Acceptance by attempting          to collect additional prejudgment

                                 interest on an amount represented as "principal" that included interest and other

                                 fees was an attempt to "enforce a right with knowledge that the right does not

                               exist" in violation of MD. CODE ANN., COM. LAW9 14-202(8), MD. CODEANN.,

                              COM. LAW 9 13-301(14)(iii), and 15 U.S.C. gI692(e)(1O).

                          (c) Whether Asset Acceptance by attempting           to collect additional prejudgment

                              interest without complying with the TILA was an attempt to "enforce a right with

                              knowledge that the right does not exist" in violation of MD. CODEANN., COM.

                              LAW 9 14-202(8), MD. CODE ANN., COM. LAW 9 13-301(l4)(iii),           and 15 USC

                              gI692(e)(10).

                          (d) Whether Asset Acceptance by misrepresenting the amount of principal owed in its

                             pleadings engaged in unfair and deceptive trade practices in the collection of

                             consumer debts in contravention of MD. CODEANN., COM.LAW 9 13-303(5).

                   26.   Claims of the Named Plaintiff are typical of the claims of the respective members of

  the Class within the meaning of Maryland Rule 2-231 (a)(3), and are based on and arise out of similar

  facts constituting the wrongful conduct of Asset Acceptance. The prosecution of separate actions by

 individual members of the Interest Overcharge class would create a risk of establishing incompatible

 standards of conduct for Asset Acceptance, within the meaning of Maryland Rule 2-231 (b)(1)(A).

                  27.    Asset AcCeptance's actions are applicable to the Interest Overcharge class as a whole,

 and Plaintiffs seek equitable remedies with respect to the Class as a whole, within the meaning of

 Maryland Rule 2-231(b)(2).

                  28.    Co=on       questions oflaw and fact enumerated above predominate over questions


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 affecting only individual members of the Interest Overcharge Class, and a class action is the superior

 method for fair and efficient adjudication of the controversy, withinthe meaning of Rule 2-23 l(b)(3).

 The likelihood that individual members of the Interest Overcharge Class will prosecute separate

 actions is remote due to the time and expense necessary to conduct such litigation, and the fact that

Asset Acceptance affirmatively misrepresents to consumers their rights and obligations. Plaintiff's

counsel are experienced in class actions, and foresee little difficultyin the management of this case

as a class action. Named Plaintiff is adequate and will fairly represent the interests of the

Repossession Class in accordance with their affirmative obligations and fiduciary duties..

                                      COUNT ONE
                         FAIR DEBT COLLECTION PRACTICES ACT
                    ON BEHALF OF THE INTEREST OVERCHARGE CLASS

        29.    Plaintiff re-alleges and incorporates by reference theallegations set forth above, and

further alleges:

        30.        Defendant Asset Acceptance violated the FDCPA in the following ways:.

                   (a) Falsely representing the amount of "principal" owing in its pleadings in

                       contravention of 15 U.S.C. ~1692(e)(2)(A);

               (b) Attempting to collect additional prejudgment interest on an amount

                       misrepresented as "principal" in contravention of 15 U.S.C. ~1692(e)(2) and

                       (10).

               (c) Attempting to collect additional interest that was not a legally enforceable right

                      because it failed to comply with the TILA in contravention of 15 U.S.C.

                       ~I 692( e)(2).

       3 I.    Pursuant to 15 U.S.C. ~I692(k) Named Plaintiff andthe classmembers are entitledto


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  statutory damages and attorneys' fees.

         WHEREFORE,           Named Plaintiff individuany and on behalf of other's similarly situated

  requests that a judgment be entered in her favor and in favor of the class against Defendant Asset

  Acceptance, LLC for:

                 (a) Declaratory judgment that Defendant's conduct violated the Fair Debt Collection

                    Practices Act;

                (b) Statutory damages pursuant to 15 U.S.C. ~1692(k);

                (c) Attorney's fees pursuant to 15 U.S.C. ~1692(k); .

                (d) Other relief as this court deems fair and equitable.

                                   COUNT TWO
                    MARYLAND' CONSUMER DEBT COLLECTION ACT
                    ON BEHALF OF INTEREST OVERCHARGE CLASS

        32.   The Named Plaintiff re-alleges and incorporates by reference the allegations set forth

above, and further alleges:

        33.    Defendant Asset Acceptance violated the Maryland Consumer Debt Collection

Practices Act by attempting tocol1ect additional prejudgment interest on an amount misrepresented

as "principal" with knowledge that the right does not exist in contravention of MD. CODEANN.,COM.

LAW 9 14-:202(8).

       34.     Defendant ASset Acceptance violated the Maryland Conswner Debt Collection

Practices Act in by attempting to collect additional prejudgment interest that was not legally

enforceable by the Defendant since it did not comply with the lILA with knowledge that the right

does not exist in contravention of MD. CODEANN., COM. LAW        ~   14-202(8).

       35.    Named Plaintiff and members of the class were damaged by these violations in that


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  they had to incur more prejudgment interest than the Defendant was legally entitled to.

          36.     Pursuant to Mo. CODE ANN.,COM. LAW 11 14-203 Defendant is liable for these

  damages.

          WHEREFORE, Named Plaintiff individually and on behalf of others similarly situated

  requests that a judgment be entered in her favor and in favor of the class against Defendant Asset

  Acceptance, LLC for:

                 (a) Declaratory judgment that Defendant's conduct violated the Maryland Consumer

                     Debt Collection Act;

                 (b) Compensatory Damages in excess of$75,000;

                 (c) Other relief as this court deems fair and equitable.

                                            COUNT THREE
                      MARYLAND CONSUMER PROTECTION ACT
                  ON BEHALF OF THE INTEREST OVERCHARGE CLASS

         37.    The Named Plaintiff re-alleges and incOIporates by reference the allegations set forth .

 above, and further alleges:

        38.     Defendant Asset Acceptance violated the Maryland Consumer Protection Act by

engaging in unfair and deceptive trade practices in the collection of consumer debts in contravention

of Mo. CODEANN., COM. LAW ~ 13-303(5).

        39.     Pursuant to MD. CODEANN.,COM.LAW 11 13-301(J4)(iii) a violation of the Maryland

Consumer Debt Collection Practices Act is a per se violation of the Maryland Consumer Protection

Act.

       40.      Pursuant to MD. CODEANN., COM. LAW 11 13-408(a)the Named Plaintiff and class

members are entitled to damages resulting from these violations


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        41.PiJrsuant      to MD. CODEANN., COM. LAW 9 13-408(b) the Named Plaintiffand            class

members are entitled to reasonable attorney's fees .

      . WHEREFORE,       Named Plaintiff individually      and on behalf of other's similarly situated

requests that a judgment be entered in her favor and in favor of the class against Defendant Asset

Acceptance, LLC for:

               (a) Declaratory judgment that Defendant's     conduct violated the Maryland Consumer

                   Protection Act;

               (b) Compensatory      Damages in excess of75,000;

               (c) Reasonable Attorneys' Fees; and

               (d) Other relief as this court deems fair and equitable.



                                                                                 .'tted,


                                                               J       SANTONI
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                                                              ArrORNEYSFORTIlENAMED
                                                              PLAiNTIFFANDTIlEINTEREST
                                                              OVERCHARGE CLASS


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                              DEMAND FOR JURy TIUAL                                 \
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 Named Plaintiff respectfully dcmands trial by jury.         !J


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